Case 1:05-cr-10038-.]DT Document 31 Filed 07/27/05 Page 1 of 2 PagelD 30

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UN|TED STATES OF A|V|ER|CA,

 

Plaintiff,
v. Cr. NO. 05-10038-01-T/An
THOMAS ROSS P|ERCE,

Defendant.

 

ORDER ON ARRA|GN|V|ENT

 

This cause came to be heard on Ju|y 26, 2005. The Assistant United States Attorney
appeared on behalf of the government, and the defendant appeared in person and with the
following counse|, who is appointed:

NA|V|E: David Camp
ADDRESS:

TELEPHONE:

The defendant, through counse|, waived formal arraignment and entered a plea of not
guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant, who is not in custody, may stand on his/her present bond.

ij The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held without bond pursuant to BRA of 1984), is remanded to the custody of the

 

 

U.S. lVlarshal.
/____
§§ //?mm§¢-`
S. THO|V|AS ANDERSON
United States l\/lagistrate Judge
Charges: manufacture methamphetaminel felon in possession of a firearm, etc.

Assistant U.S. Attorney assigned to case: Kitchen

Rule 32 was: Waived if notwaived.

Defendant's age: § q

This document entered on the docket nee in corn liance
with huie 55 and/or 32{b) FRch on 52 ’7 05 3 /

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
case 1:05-CR-10038 Was distributed by faX, mail, or direct printing on
July 27, 2005 to the parties listed.

 

 

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson, TN 38301

David W. Camp

LAW OFFICES OF DAV]D CAl\/[P, PLLC
403 N. Parkway

Jackson, TN 38305

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson, TN 38301

Honorable J ames Todd
US DISTRICT COURT

